' ‘Case 8:18-mj-00338-DUTY Document3 Filed 07/13/18 Page1of2 Page ID #:147

AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 2)

 

 

 

 

Return
Case No.: Date and time warrant executed; Capy of warrant and inventory left with:
8:18-MJ-338 G/r7)d bison | Vigo Varque 2

 

Inventory made in the presence of:

buf Vargve 2

 

Inventory of the property taken and name of any person(s) seized:
[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate

volume of any documents seized (e.g., number of boxes), If reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon,]

Please See athecved Pece 74 Gol Reports, SLized (FD-s1)
dated G/r7/I8 , FEE G\e He BosT-LA-tABITUL, ber

list at v hens S2i2z0d. ( | page )

 

Certification (by officer present during the execution of the warrant)

 

I declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is correct and
was returned along with the original wari rant to the designated judge through a fi ling.with the Clerk's Office Le
\ a

\

\

?

/*

| / | | \ y~
few \ %
Date: i { / ¢ i K \

| /sxecutingoffcer Seienature

nah Bulae H Speen Net

Printed name and tile

 

 

 

 

AUSA: Lim:sks
FD-597 (Rev ©486,8:18-mj-00338-DUTY Document 3 Filed 07/13/18 Page 2 ofa Page{ID Has |

UNITED STATES DEPARTMENT OF JUSTICE .
FEDERAL BUREAU OF INVESTIGATION
Receipt for Property Received/Returned/Released/Seized

File # SOST-LA-A%3172-3-

| On (date) JUN 2 27) 20\%

item(s) listed below were:
(] Received From
Returned To
[] Released To

Bt Seized
(Name) udp \las QUE2.

(Street Address) 7 DD \S b. Sama C\’ om Ane Appt: Ee
cityy S oon Awa CA 4d70S"

 

Description of Item(s):

L Black. T-phone Cem cry dusk) |

A. AP Comoukec pwec Su: WSFA oHorcaHt Rwilion Mope oy (@;)
3, Mee apie) malig SN: AMB4HI BAUD BOP (G)

4 Dew Trepiven ZuSD Sh: Tathag miele (a)

5. Bue Yumodcive. Poreocte (4)

lo. \Ominss Cuno Vooer Wy motel (SER yy. SW G- Al wied- 3G
+ Prosper Wiklek SN: Maman ee OB loiwes (&)

 

\ ‘\
i | ND \ A

Received By: te ( Z—- Reecived From: y Sd dae
om ure) . LO ———(Sighature)

WT)
|

 

 

 

eo
